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 4
     Attorney for Defendant
 5   ROBB CHEAL
 6
 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                        ) Case No.: 2:12-cr-00185 TLN
                                                      )
11                          Plaintiff,                ) STIPULATION AND ORDER TO
                                                      ) CONTINUE STATUS CONFERENCE
12           vs.                                      )
                                                      )
13   ROBB CHEAL,                                      )
                                                      )
14                          Defendants.               )
                                                      )
15
16
             IT IS HEREBY STIPULATED by and between the parties hereto through their
17
     respective counsel, Jason Hitt, Assistant United States Attorney, attorney for plaintiff, and
18
     Michael E. Hansen, attorney for defendant Robb Cheal, that the previously-scheduled status
19
     conference date of October 3, 2019, be vacated and the matter set for status conference on
20
     January 9, 2020 at 9:30 a.m.
21
             This continuance is requested because defense counsel needs time to review discovery in
22
     this case. Undersigned is new to the case and the amount of discovery is voluminous. The matter
23
     is post-plea and does not require an exclusion of time.
24
             The Government concurs with this request.
25
             Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
26
     /////
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     /////
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     Stipulation and Order to Continue Status Conference
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 1            IT IS SO STIPULATED.
 2   Dated: October 1, 2019                                Respectfully submitted,
 3                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 4                                                         Attorney for Defendant
                                                           ROBB CHEAL
 5
     Dated: October 1, 2019                                McGREGOR SCOTT
 6                                                         United States Attorney
 7                                                         By: /s/ Michael E. Hansen for
                                                           JASON HITT
 8                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
 9
10                                               ORDER
11                  The Court, having received, read, and considered the stipulation of the parties,
12   and good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its
13   order.
14                  It is further ordered that the October 3, 2019, status conference shall be continued
15   until January 9, 2020, at 9:30 a.m.
16            IT IS SO ORDERED.
17
     DATED: October 1, 2019
18
                                                              Troy L. Nunley
19                                                            United States District Judge
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     Stipulation and Order to Continue Status Conference
